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Jackson lewis                                                 Jackson Lewis P.C.
                                                              58 South Service Road, Suite 250
                                                              Melville NY 11747
                                                              (631) 247-0404 Direct
                                                              (631) 247-0417 Fax
                                                              jacksonlewis.com




EMAIL ADDRESS: NOEL.TR!PP@{A CKSONLEWIS. COM
DIRECT DIAL: (631) 247-4661


                                                        September 25, 2020
VIA ECF

Hon. Kenneth M. Karas
United States District Judge
Southern District of New York
United States Courthouse
300 Quarropas Street, Chambers 533
White Plains, New York 10601-4150

                                        Re: Marie Jean Charles, et al. v. Marquis Home Care, LLC
                                            Civil Case No.: 20-cv-01715

Dear Judge Karas:

        We represent Defendant Marquis Home Care, LLC ("Defendant") in the above
referenced matter. We write further to the Court's directive during the August 21, 2020 pre-



                                                                                                   n
motion conference regarding status of the proposed motion practice. Defendant continues to
assert deficiencies in Plaintiffs' current Amended Complaint (Dkt. 25) and that certain
allegations therein are refuted by documentary evidence. In the course of discussing the
pleading, the parties also discussed the potential for settlement discussions. To allow time for
those discussions to continue, the parties request that the Court set the following briefing
schedule: Defendant's Rule 12 motion October 23 , 2020; opposition November 20, 2020;
reply December 4, 2020. The parties thank the Court for its continued attention to this matter.

                                                        Respectfully submitted,

                                                        JACKSON LEWIS

                                                        NoeLP. Tvq:>p

NPT:dc                                                  Noel P. Tripp
cc:   All Counsel of Record (via ECF)

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